Case 1:19-cv-00659-WES-PAS Document 13-4 Filed 12/23/19 Page 1 of 14 PageID #: 316




       Exhibit D
Case 1:19-cv-00659-WES-PAS Document 13-4 Filed 12/23/19 Page 2 of 14 PageID #: 317
Case 1:19-cv-00659-WES-PAS Document 13-4 Filed 12/23/19 Page 3 of 14 PageID #: 318
Case 1:19-cv-00659-WES-PAS Document 13-4 Filed 12/23/19 Page 4 of 14 PageID #: 319
Case 1:19-cv-00659-WES-PAS Document 13-4 Filed 12/23/19 Page 5 of 14 PageID #: 320
Case 1:19-cv-00659-WES-PAS Document 13-4 Filed 12/23/19 Page 6 of 14 PageID #: 321
Case 1:19-cv-00659-WES-PAS Document 13-4 Filed 12/23/19 Page 7 of 14 PageID #: 322
Case 1:19-cv-00659-WES-PAS Document 13-4 Filed 12/23/19 Page 8 of 14 PageID #: 323
Case 1:19-cv-00659-WES-PAS Document 13-4 Filed 12/23/19 Page 9 of 14 PageID #: 324
Case 1:19-cv-00659-WES-PAS Document 13-4 Filed 12/23/19 Page 10 of 14 PageID #: 325
Case 1:19-cv-00659-WES-PAS Document 13-4 Filed 12/23/19 Page 11 of 14 PageID #: 326
Case 1:19-cv-00659-WES-PAS Document 13-4 Filed 12/23/19 Page 12 of 14 PageID #: 327
Case 1:19-cv-00659-WES-PAS Document 13-4 Filed 12/23/19 Page 13 of 14 PageID #: 328
Case 1:19-cv-00659-WES-PAS Document 13-4 Filed 12/23/19 Page 14 of 14 PageID #: 329
